
The People of the State of New York, Respondent,
againstVirginia Hindus, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Robert G. Seewald, J.H.O.), rendered December 4, 2012, after a nonjury trial, convicting her of attempted assault in the third degree and harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Robert G. Seewald, J.H.O.), rendered December 4, 2012, affirmed.
The verdict, in which the court rejected defendant's justification defense, was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis upon which to disturb the court's determinations concerning credibility. The court reasonably determined, based on the People's proof, that defendant acted as the initial aggressor in the altercation
and that complainant merely attempted to restrain defendant.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: September 27, 2016










